                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

ELISE SPEARS                                  )
                                              )
       Plaintiff,                             )
                                              )       No. 5:10-cv-421
       vs.                                    )
                                              )
ONLINE INFORMATION SERVICES,                  )
INC., d/b/a ONLINE COLLECTIONS,               )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, ELISE SPEARS, by and through her attorney, M.

LYNETTE HARTSELL, and for her Complaint against the Defendant,                          ONLINE

INFORMATION SERVICES, INC. d/b/a ONLINE COLLECTIONS, Plaintiff alleges and states

as follows:

                                PRELIMINARY STATEMENT

       1.       This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts From

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.       Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




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                                            PARTIES

        3.      Plaintiff is an individual who was at all relevant times residing in Fort Bragg,

North Carolina.

        4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.      On information and belief, Defendant is a corporation of the State of North

Carolina which has its principal place of business in Winterville, North Carolina.

                                             COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.      On or about January 28, 2009, Defendant mailed a letter to Plaintiff in an attempt

to collect an alleged debt that was in Plaintiff’s name only.

        8.      On or about February 5, 2010, Plaintiff contacted Defendant regarding the

aforementioned alleged debt and spoke with Defendant’s representatives and employees,

including but not limited, to Debra (last name unknown) and Roger Morris (hereinafter

“Morris”).

        9.      During the aforementioned telephone conversation, Morris stated that he would

“have to go to JAG” and Plaintiff’s husband’s commanding officer regarding non-payment of the

alleged debt.




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       10.     Further, Morris stated that he “knew how to get” money to pay the alleged debt

from Plaintiff’s husband’s commanding officer through a “direct deposit withdrawal. “

       11.     Additionally, Morris stated that Plaintiff’s non-payment of the alleged debt

“would not look good” on Plaintiff’s husband’s credit report.

       12.     Morris also stated to Plaintiff that her husband would not be able to advance his

career in the military if the alleged debt was not paid in full.

       13.     On or about February 12, 2010, Plaintiff mailed a letter to Defendant disputing

the alleged debt, requesting validation of the alleged debt, and requesting that Defendant not

contact her again regarding the alleged debt.

       14.     Nonetheless, a representative of Defendant contacted Plaintiff by telephone on or

about February 15, 2010 in a further attempt to collect the alleged debt.

       15.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

               a.      Continuing to communicate with Plaintiff after Defendant was notified in

                       writing that she wished for Defendant to cease further communication

                       with her, in violation of 15 U.S.C. § 1692c(c);

               b.      Falsely representing or implying that Defendant was vouched for, bonded

                       by, or affiliated with the United States government or any state

                       government, in violation of 15 U.S.C. § 1692e(1);

               c.      Falsely representing the character, amount and/or legal status of the debt,

                       in violation of 15 U.S.C. § 1692e(2)(A);

               d.      Threatening to take action that could not legally be taken and/or that was

                       not intended to be taken, in violation of 15 U.S.C. § 1692e(5);




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               e.       Falsely representing or implying that Plaintiff’s husband committed a

                        crime or other conduct in order to disgrace Plaintiff, in violation of 15

                        U.S.C. § 1692e(7);

               f.       Failing to cease collection activities prior to providing verification of the

                        alleged debt, where Plaintiff notified Defendant in writing within the

                        applicable period that the debt was disputed, in violation of 15 U.S.C. §

                        1692g(b);

               g.       Using a false, deceptive or misleading representation or means in

                        connection with the collection of the alleged debt or to obtain information

                        about our client, in violation of 15 U.S.C. § 1692e(10); and

               h.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       16.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, ELISE SPEARS, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.




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                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       17.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       18.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

               a.       Falsely representing or implying that you are vouched for, bonded by, or

                        affiliated with the United States government or any state government, in

                        violation of N.C. Gen. Stat. § 58-70-110(4);

               b.       Falsely representing the character, amount and/or legal status of the debt,

                        in violation of N.C. Gen. Stat. § 58-70-110(4);

               c.       Threatening to take action that could not legally be taken and/or that was

                        not intended to be taken, in violation of N.C. Gen. Stat. § 58-70-95(7) and

                        (8);

               d.       Falsely representing or implying that Plaintiff’s husband committed a

                        crime or other conduct in order to disgrace Plaintiff, in violation of N.C.

                        Gen. Stat. § 58-70-95(2); and

               e.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with North Carolina law.

       19.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.




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       WHEREFORE, Plaintiff, ELISE SPEARS, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $4,000.00 for each violation of the North Carolina

                        Prohibited Practices by Collection Agencies Engaged in the Collection of

                        Debts from Consumers Statute;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.



                                                       Respectfully Submitted,

                                                       /s/ M. Lynette Hartsell
                                                       M. Lynette Hartsell (9845)
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